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                    EXHIBIT E
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  From:               Petrsoric, John (US)
  To:                 Michael Valaik
  Cc:                 Long, Elizabeth (US); Mark Ferguson; Katherine Rhoades; Amy Gore; DeVincenzo, Michael (US)
  Subject:            RE: Viking v. Asurion
  Date:               Friday, September 24, 2021 4:37:54 PM


  Mike –

  Thanks for reaching out. We’ve reviewed the asserted claims and have determined that we can
  withdraw claims 9 and 10 of U.S. Patent No. 10,220,537 from assertion against Asurion. With that,
  Viking maintains assertion of claims 1 & 4 of U.S. Patent No. 8,888,953 and claims 1, 4 & 8 of U.S.
  Patent No. 10,220,537.

  Please let me know if you have any questions.

  Thanks much,
  John


  From: Michael Valaik <michael.valaik@bartlitbeck.com>
  Sent: Monday, September 20, 2021 7:55 PM
  To: Petrsoric, John (US) <john.petrsoric@us.kwm.com>
  Cc: Long, Elizabeth (US) <elizabeth.long@us.kwm.com>; Mark Ferguson
  <mark.ferguson@bartlitbeck.com>; Katherine Rhoades <katherine.rhoades@bartlitbeck.com>; Amy
  Gore <amy.gore@bartlitbeck.com>
  Subject: Viking v. Asurion

  Dear John,

  As the close of fact discovery and the deadline for opening expert reports approaches, I am writing
  concerning the patent claims that Viking has asserted against Asurion.
    
  We realize that Viking served its infringement contentions before the substantial production of Asurion
  documents, and the several depositions of Asurion personnel, describing in detail Asurion’s delamination
  methods. But by now, we believe Viking should have a much better appreciation of the processes that
  Asurion has (and has not) used over the relevant time period. We assume that Viking has used this
  information to consider the basis, if any, for each of Viking’s initial claims of infringement.

  Before we incur the substantial cost of preparing expert reports on each and every one of the claims
  asserted in Viking’s January 6, 2021 disclosure, we would ask that you let us know by Friday,
  September 24, whether Viking is still asserting all those claims.

  Best,

  Mike

  BartlitBeck LLP
  Michael J. Valaik | p: 312.494.4403 | c: 630.988.3751 | Michael.Valaik@BartlitBeck.com | Courthouse Place, 54 West
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